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EXHIBIT D
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,

Civil Action No.
Plaintiffs,

Vv.
JURY TRIAL DEMANDED
MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,

Defendants.

 

 

COMPLAINT AND JURY DEMAND

Analog Devices, Inc. and its wholly owned subsidiary, Hittite Microwave LLC,
(collectively, “Analog”), by their attorneys Proskauer Rose LLP, bring this action for patent
infringement, trade secret misappropriation, and unfair and deceptive trade practices against
defendants MACOM Technology Solutions Holdings, Inc. and MACOM Technology Solutions
Inc. (collectively, “MACOM”).

INTRODUCTION

1. Analog is the global market leader and innovator in the design and manufacture of
analog, mixed signal, and power integrated circuit products. Such leadership was gained through
hard work, a commitment to excellence, and substantial investments. Given the effort necessary
to stay ahead of competitors, Analog makes sure to protect its confidential information and its

innovations.
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2. This case arises out of MACOM’s recent attempts to compete with Analog, not by
its own innovation, but instead by misappropriation of Analog’s trade secrets improperly
acquired from former Analog employees, and by its infringement of Analog’s patent-protected
inventions.

3. Since 2016, MACOM has released a stream of products bearing a striking
resemblance to — indeed, in many cases these products are pin-to-pin compatible with — Analog’s
competing products which had been on the marketplace for years prior. MACOM released these
products on the heels of the arrival at MACOM of various former Analog sales and engineering
personnel — personnel with intimate knowledge concerning the design, development and
marketing of such products, and who had in fact attempted to bring with them to their new
employer, MACOM, more than a half terabyte of Analog confidential information including
hundreds of thousands of Analog confidential documents on their way out the door.

4. At least three Analog employees departed Analog for MACOM in 2015 and 2016,
attempting to take with them valuable Analog trade secrets. As these departing Analog
employees were caught red-handed, some destroyed or returned to Analog certain of those
materials. Unfortunately, it appears that confidential Analog trade secrets nonetheless made their
way to MACOM. On information and belief, MACOM used Analog’s trade secrets to accelerate
development and release of products for direct competition with Analog’s products, and to attack
existing Analog customer relationships. Furthermore, despite knowledge at the highest levels of
the systematic and repeated nature of new hires coming to MACOM with trade secrets,

MACOM did not take any meaningful action to ensure the trade secrets would not be
misappropriated.

5. Moreover, certain of MACOM’s products infringe Analog’s U.S. patent rights.
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6. Analog now seeks remedy for MACOM’s unfair competition, trade secret

misappropriation, and patent infringement.
PARTIES

7. Analog Devices, Inc. is a Massachusetts corporation with its corporate
headquarters located at One Technology Way, Norwood, Massachusetts 02062.

8. Analog is a leading global manufacturer of precision high-performance integrated
circuits. Analog’s products are embedded inside many different types of electronics, and used in
industries around the world, including in aerospace and defense, computer networking, cellular
and wireless infrastructure, automobiles, industrial process and control systems, medical imaging
equipment, and consumer portable electronics.

9. Founded in 1965 by Ray Stata and Matthew Lorber, both graduates from
Massachusetts Institute of Technology, Analog has fostered a culture of innovation. Stata’s
visionary leadership transformed Analog from its beginnings as a small Cambridge-based
company specializing in operation amplifier (op amp) design into a prestigious enterprise that
offers one of the most comprehensive and technologically sophisticated line of integrated circuits
in the world. In 1969, Analog made its first foray into the semiconductor business and rose to
the challenge of rivaling larger companies that already had a head start in the newly developing
space. While still valuing its traditional customer base in op amps, Analog has since established
itself as a leading supplier of high-performance amplifiers that emphasize speed and precision,
and as a leading supplier of high-speed switches.

10. On July 22, 2014, Analog acquired Hittite Microwave Corporation (“Hittite”), an
innovative designer and manufacturer of high performance integrated circuits, modules,

subsystems and instrumentation for RF, microwave and millimeter wave applications. Founded
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in 1985, Hittite was a highly successful small company that demonstrated the same drive to
provide elegant solutions to complex problems and build strong customer relationships that
formed the heart of Analog’s business. Analog’s acquisition of Hittite was synergistic; together,
their efforts paved the way for technological advances in the fields of cellular and microwave
communications infrastructure, automotive, industrial instrumentation, aerospace, and defense.
Post-acquisition, Hittite Microwave Corporation became Hittite Microwave LLC, and now
operates as a wholly-owned subsidiary of Analog Devices, Inc.

11. —_ Hittite Microwave LLC is Delaware entity with a principal place of business at 2
Elizabeth Drive, Chelmsford, Massachusetts 01824.

12. | On information and belief, defendant MACOM Technology Solutions Holdings,
Inc. is a Delaware corporation, with its headquarters at 100 Chelmsford Street, Lowell,
Massachusetts 01851.

13. On information and belief, defendant MACOM Technology Solutions Inc. is a
Delaware corporation, with its headquarters at 100 Chelmsford Street, Lowell, Massachusetts
01851.

14. Defendants MACOM Technology Solutions Holdings, Inc. and MACOM
Technology Solutions Inc. are charged here with unfair competition, trade secret
misappropriation, and patent infringement.

JURISDICTION AND VENUE

15. This action arises under the patent laws of the United States, 35 U.S.C. § 1 ef seq.
Exclusive jurisdiction for any action arising under any Act of Congress relating to patents is
conferred on this court by 28 U.S.C. § 1338(a), and under 28 U.S.C. § 1337. This action also arises
under the federal Defend Trade Secrets Act of 2016, 18 U.S.C. § 1836 ef seq., the Massachusetts

Trade Secrets Act, M.G.L. c. 93 § 42, the Massachusetts Consumer Protection Act, M.G.L. c.
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93A, and state law claims of unjust enrichment, tortious interference with contractual relations,
tortious interference with existing and prospective business relations, and aiding and abetting the
employees’ breach of fiduciary duty.

16. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331, and 1338(a) & (b). This Court has supplemental jurisdiction over the state law claims
pursuant to 28 U.S.C. § 1367(a), at least because these claims are so related to claims in the
action within original jurisdiction that they form part of the same case or controversy.

17. This Court has personal jurisdiction over MACOM because MACOM, among
other things, is headquartered in Massachusetts, transacts business in Massachusetts, and
advertises, markets, demonstrates, offers to sell, and sells products infringing Analog’s patents in
Massachusetts.

18. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) & (c), and
1400(b) because MACOM resides and transacts business in the District of Massachusetts, and
because a substantial part of the events giving rise to the claims occurred in the District of
Massachusetts.

FACTUAL ALLEGATIONS
Relationship Between Analog and MACOM

19. | MACOM holds itself out as competing with Analog across three markets —
Networks, Aerospace and Defense, and Multi-market.

20. MACOM’s President and Chief Executive Officer, John Croteau, worked for
Analog from 1988 to 2007, holding numerous product management positions, including General
Manager for Analog’s Convergent Platforms and Services Group as well as Product Line

Director for the Integrated Audio Group.
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21. Attack on market share occupied by Analog/Hittite is a core aspect of MACOM’s
business strategy.

22. In a 2016 MACOM earnings call, Mr. Croteau stated that MACOM’s “strategy is
to regain preeminent [market] share from traditional competitors like [] Hittite, TriQuint, RFMD
and Microsemi as they undergo consolidation.”

23. The individuals specifically discussed herein — Frank Traut, Thomas Winslow,
and George Papamitrou — were employed by Hittite at the time it was acquired by Analog in
2014, and remained Analog employees until their departure for MACOM as detailed below.

24. Over the last few years, Mr. Croteau was repeatedly notified in writing of
misconduct, including attempts to misappropriate Analog’s confidential and proprietary
information by these and other former Analog employees that departed for MACOM. On
information and belief, Mr. Croteau and MACOM failed to take the necessary precautions to
ensure that Analog’s proprietary information was not used by MACOM.

Frank Traut’s Departure from Analog for MACOM

25. Frank Traut was employed by Hittite and/or Analog from 2003 until February 6,
2015.

26. Mr. Traut began his career with Hittite as a design engineer, but eventually
acquired the position of Hittite Business Development Manager, in which he managed a team of
designers and was responsible for reviewing design plans and decisions, setting strategy for
development of various products, and meeting with Hittite’s customers to understand their needs
and requirements.

27. | Mr. Traut was later promoted to Director of IC Engineering at Hittite; in that

position, Mr. Traut supervised ongoing product design and development work by many Hittite
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design engineers, and continued advising the company on strategy for product development,
having significant interaction with customers to understand their product needs.

28. Mr. Traut also served as a member of the Hittite patent review committee, and he
had unlimited access to Hittite’s entire server system while employed by Hittite.

29. Mr. Traut’s positions during his tenure at Hittite and Analog gained him access to
knowledge about development processes for various products, including at least amplifier
products and voltage controlled oscillators (“VCOs”).

30. One particular category of products with which Mr. Traut was intimately familiar
were Hittite’s monolithic microwave integrated circuit (“MMIC”) wideband distributed
amplifiers first designed by Hittite engineer Keith Benson, including HMC797, HMC994,
HMC998, HMC797A, HMC994A, HMC998A, and variants thereof.

31. Mr. Benson’s work in developing these MMIC wideband distributed amplifier
products spanned a number of years, during which time Mr. Traut was acutely aware of the
design and development process, including how Mr. Benson and Hittite’s other engineers
overcame challenges to bring those products to market. Mr. Traut also had access to confidential
Analog trade secrets concerning Analog’s business with specific customers, including customer
needs, requirements, and future supply demands.

32. | Mr. Benson’s developments in furtherance of those products resulted in issuance
of several patents, including U.S. Patent No. 9,425,752, which is discussed in greater detail
below.

33. Mr. Traut was also intimately familiar with the design, manufacture, and sales of
various VCO products supplied to customers in the aerospace, defense, and instrumentation

markets.
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34. In his role as Director of IC Engineering, Mr. Traut supervised the company’s
VCO design team and was knowledgeable about all aspects of VCO product development and
specific customer needs. With the VCO design team, Mr. Traut developed product roadmaps for
VCOs, and routinely interacted with customers concerning VCO product offerings that might
suit their needs.

35. After Analog’s 2014 acquisition of Hittite, Mr. Traut was given the title of
Product Line Director at Analog.

36. Mr. Traut’s last day as an Analog employee was February 6, 2015.

37. On information and belief, Mr. Traut began work at MACOM in February of
2015.

38. | On information and belief, Mr. Traut is currently Senior Director of Technology
and Innovation at MACOM.

39. Prior to his departure from Analog, Mr. Traut had executed agreements with both
Hittite and Analog concerning confidentiality obligations he owed the companies.

40. Specifically, in March 2003, Mr. Traut signed Hittite’s Proprietary Information,

Confidentiality and Inventions Agreement, which states in relevant part:

 

1, Confidentiality. I agree to keep confidential, except as the Company may
otherwise consent in writing, and, as may be necessary in the ordinary course of performing my
duties to the Company, not to disclose or make any use of at any time either during or
subsequent to my employment, any Inventions (as hereinafter defined), trade secrets, confidential
information, knowledge, data or other information of the Company relating to products,
processes, know-how, designs, formulas, test data, customer lists, business plans, marketing
plans and strategies, pricing strategies, or other subject matter pertaining to any business of the
Company or any of its affiliates or confidential or proprietary information of any third parties
subject to a duty on the part of the Company to maintain the confidentiality of such information,
which I may produce, obtain, or otherwise acquire during the course of my employment, except
as herein provided. I further agree not to deliver, reproduce or in any way allow any such trade
secrets, confidential information, knowledge, data or other information or any documentation
relating thereto, to be delivered to or used by any third parties without specific direction or
consent of a duly authorized representative of the Company.

 

 

 
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41. — And, on September 3, 2014, Mr. Traut signed Analog’s Employee Confidentiality

and Developments Agreement, which stated, in part:

 

1. {will not, during or after the term of my employment, disclose to any person, firm, corporation,
association or other entity for any reason or purpose whatsoever any Confidential Information or
any information of any third party which ADI is under an obligation to keep confidential, except
(i) as expressly directed by ADI, or (li) as may be required in the ordinary course of performing my
duties as an employee of ADI in accordance with ADI's policies. | will not make.use of any
Confidential Information for my own purposes or for the benefit of any person, firm, corporation or
other entity under any circumstances during or after the term of my employment. These
confidentiality obligations will remain in effect during the term of my employment and for as long
as the information fits within the definition of Confidential Information, except as otherwise
provided by applicable law. All Confidential Information is and will remain the sole and exclusive
property of ADI or the third party supplier of such Confidential Information, and immediately upon
the termination of my employment, | will return all Confidential Information and copies of
Confidential Information in my possession or control to ADI. (References to “ADI” in this
Agreement are to Analog Devices, Inc. and its subsidiaries, including Hittite from and after its
acquisition (the “Acquisifion”}, except as otherwise specified below.)

 

 

 

 

8. Definitions.

a. Confidential Information: Information as may be designated by ADI as confidential or that a
reasonable person would understand from the circumstances of the disclosure to be
confidential, including but not limited to: (a) all information acquired by me from ADI, its other
employees, its suppliers or customers, its agents or consultants, or others, during my
employment by ADI, that relates to the past, present or potential businesses, products or
services of ADI; (b) all information created or acquired by me in the course of any included
Activity; (c) all Company Creations; and (d) all information derived from (a) - (c) above.
Notwithstanding the foregoing, Confidential Information shall not include any information that

 

 

 

is or becomes generally known to the public through no action by me.

42. Notwithstanding these obligations, before his departure, Mr. Traut — secretly and
without authorization — downloaded approximately 3GB of confidential and proprietary
information from the legacy Hittite and Analog systems to one or more removable devices. That
information included, but was not limited to, documents related to product design and
development strategy and market strategy. The products that were documented in those
unauthorized data downloads include the MMIC wideband amplifier products discussed above.

43. Analog became aware of Mr. Traut’s attempt to take Analog trade secrets in

March of 2015, and immediately retained counsel, who contacted Mr. Traut concerning his
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misconduct in a March 13, 2015 letter reminding him of his contractual obligations and seeking
return or destruction of the files.

44, John Croteau, MACOM’s CEO, was copied on that March 13, 2015 letter, and
was also contacted directly concerning the situation in a follow-on March 18, 2015 letter from
Analog.

45. On information and belief, MACOM misused (and continues to misuse)
confidential and proprietary Hittite and Analog trade secret information brought to it by Mr.
Traut (e.g., confidential design decisions, processes, know-how, and sales and marketing
strategy, including specific customer information such as needs, requirements, opportunities and
challenges communicated in confidence to Analog). On information and belief, MACOM’s
misuse of such information enabled MACOM to shortcut the development of products sold in
competition with Analog’s products, including but not limited to pin-to-pin compatible MMIC
amplifier products and VCOs, and to target specific Analog customers for sales opportunities of
which it would not otherwise have been aware.

Thomas Winslow’s Departure from Analog for MACOM

46. Three weeks after Mr. Traut left Analog for MACOM, an engineer who had
worked for Mr. Traut while at Analog - Thomas Winslow — followed him.

47. | Mr. Winslow worked for Hittite and/or Analog from September 2011 until
leaving Analog for MACOM on February 27, 2015.

48. On information and belief, Mr. Winslow is currently Senior Principal Engineer at

MACOM.

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49. While at Hittite and/or Analog, Mr. Winslow held various engineering positions,
including but not limited to Consulting Engineer, Principal Designer of GaN HPA MMICs, and
Principal Engineer (reporting to Frank Traut in that role).

50. In his various positions, Mr. Winslow — like Mr. Traut — had access to
confidential and proprietary technical information of Hittite and Analog concerning product
design and development.

51. — And, like Mr. Traut, Mr. Winslow executed agreements with Hittite and Analog
concerning his obligations to maintain the confidentiality of such information.

52. Specifically, on or about September 2011, Mr. Winslow executed Hittite’s

Proprietary Information, Confidentiality and Inventions Agreement, which states in relevant part:

 

L. Confidentiality. [ egree to keep confidential, except as the Company may
otherwise consent in writing, and, as may be necessary in the ordinary course of performing my
duties to the Cammpany, not to disclose or make any use of at any time either curing or
subsequent to my employment, any Inventions (2 as nereinafter defined), trade secrets, confidential
information, in owiledge, data or other information ¢ of the Company relating te products,
processes, know-how, designs, formulas, test data, customer lists, business plans, marketing
plans and strategies, pricing strategies, or other subject matter pertaining to any business of the
Company or any y oft s affiliates or condidential er proprietary information of any third sarties
subject to a duty on the part af the Comsany to maintain the confidentiality of such information,
which I may produce, obtain, or otherwise acquire during the course of my employment, exce
as herein provided. I further agree not to deliver, reproduce or in any way alow any such trade
secrets, confidential information, xnowledge, ¢ ta or other information or any documentation
relating thereto, to be delivered to or used by any third parties without specific direction or
consent of a duly authorized representative of the Company.

   

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53. Mr. Winslow also executed Analog’s Employee Confidentiality and

Developments Agreement on July 23, 2014, which states in relevant part:

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*. {wal not, during or eter the term of my employment, disclose to any person, firm, corporatios,
association cr other entity for any reason or purpose whatsoever any Confidental Information or
any informetion of any third party which ADI is uncer an coligation to keep confidential, except
() as expressly directed by ADI, or {ii} as may be required in the ordinary course of performing my
duties as an employes of ADI in accordance with AD?'s policies. | wil not mexe use of any
Confidential Information for my own purposes or for the benefit of any person, firm, corporaticn or
other entity under any circumstances during or after the term of my employment. These
confidentiality cbligatior remein in effect curing the term of my employment and for as long
as the information fits within the definition of Confidential Informaton, except as otnenvise
provided by applicable law. All Confidectial Information is anc wit remein the sole and excusve
property of AD! or the third sariy supolier of such Confidential Infermation, end immediately upon
the termination of my employment, | wil return all Conficential Information and copies of
Confidential Information in my possession or control to ADI. (References to “ADI” in nis
Agreement are to Anaiog Devices, Inc. and its subsidiaries, inciucing Hittite from anc after ts
acquisition (tha “Acquisition“}, except as atherwise specified oalow.)

    

 
   
       

  

 

 

 

 

8. Definitions.

a, Confidential information: Information as may be designated by ADI as confidential or that a
reasonable person would understand from the circumstances of the disclosure to be
confidential, including but not limited to: (a) all information acquired by me from ADI, its other
employees, its suppliers or customers, its agents or consultants, or others, during my
employment by ADI, that relates to the past, present or potential businesses, products or
services of ADI: (b) all information created or acquired by me in the course of any Included
Activity; (c) all Company Creations; and (qd) all information derived from (a) - (c) above.
Notwithstanding the foregoing, Confidential Information shall not include any information that
is or becomes generally known to the public through no action by me.

 

 

 

54. Notwithstanding these obligations, in the weeks prior to his departing Analog, Mr.
Winslow secretly and without authorization downloaded approximately SOOGB of data to at least
19 external devices (including 4 hard drives). That downloaded data included Analog’s
confidential and proprietary information, such as design and layout files, schematics and
simulations related to various products, including but not limited to MMIC amplifier products.

55. Analog became aware of this activity in March of 2015, and immediately retained
counsel, who contacted Mr. Winslow concerning his misconduct in a March 13, 2015 letter

reminding him of his contractual obligations.

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56. John Croteau, MACOM’s CEO, was copied on that March 13, 2015 letter, and
was also contacted directly concerning the situation in a follow-on March 18, 2015 letter from
Analog, expressing the urgency of the situation.

57. At first, Mr. Winslow denied copying any of the downloaded materials to other
computers — either personal computers, or computers issued to him by his new employer,
MACOM.

58. | However, on April 28, 2015, Mr. Winslow signed a document certifying that he
had, indeed, copied Analog’s confidential information to a variety of portable hard drives, some
of which he took with him after leaving employ of Analog; he had, indeed, put certain of those
Analog files onto his MACOM-issued laptop; and stating that he no longer had any Analog
confidential information, and would not make use of any such information for the benefit of
MACOM.

59. On April 10, 2015, Mr. Winslow also executed a Proprietary Rights Statement,
again agreeing to maintain the confidentiality of Analog’s proprietary information, including
various categories of confidential technical and business information.

60. Despite Mr. Winslow’s contractual obligations, and re-affirmation thereof after
his departure, on information and belief, MACOM misused (and continues to misuse)
confidential and proprietary Hittite and Analog trade secret information brought to it by Mr.
Winslow (e.g., confidential design decisions, processes, and know-how). On information and
belief, MACOM’s misuse of such information enabled MACOM to speed the development of
products sold in competition with Analog’s products, including but not limited to pin-to-pin

compatible MMIC amplifier products, and to target specific Analog customers for sales.

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MACOWM’S Launch of Products in Competition with Analog

61. In 2016, the year immediately following the defections of Messrs. Traut and
Winslow to MACOM, MACOM released products the designs of which, on information and
belief, were informed by Analog’s trade secrets that those employees brought with them to
MACOM.

62. On September 21, 2016, MACOM announced its release of new MMIC wideband
distributed amplifier products, many of which were designed to be pin-to-pin compatible
competition for Analog’s products.

63. Specifically, MACOM released MAAP-011247 (versions of which are pin
compatible with Analog’s HMC998ACHIPS and HMC998APMSE products) and MAAP-
011248 (versions of which are pin compatible with Analog’s HMC797ACHIPS and
HMC797APMSE), stating that these products were the first two of four new distributed
amplifiers MACOM would be releasing, to be followed by release, over the next two quarters, of
two additional distributed amplifier products having output power of % W and 4 W.

64. In fact, it took MACOM another 16 months — until January 17, 2018 — to release
its next such product, MAAP-011249 (versions of which are pin compatible with Analog’s
HMC994ACHIPS and HMC994APMSE products), which has output power of 4 W.

65. ©MACOM has not yet released its promised amplifier with a 4 W power output.

66. Analog believes discovery will reveal use of Analog trade secret information
shared with MACOM by Messrs. Traut and/or Winslow during the design process of these
distributed amplifier products (e.g., confidential design decisions and product topology,
processes, know-how as to how to overcome obstacles during the design cycle which Analog’s

engineers had worked for years to surmount), as well as use of other confidential and proprietary

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Analog trade secrets concerning customers (e.g., specific customer identities, needs,
requirements, opportunities and challenges communicated to Analog in confidence, product
pricing, volume expectations, and customer purchase forecasts) in deciding which customers to
target for sales of which products.

| 67. Similarly, on information and belief, MACOM used Analog trade secret
information learned from Messrs. Traut and/or Winslow in developing and releasing VCO
products in 2016.

68. On October 3, 2016, MACOM announced release of three broadband VCO
products that cover the same frequency ranges as Analog’s competing products — in fact, they
(like the MMIC products discussed above) are pin-to-pin compatible with Analog’s competing
products.

69. Specifically, MACOM released its MAOC-409000 VCO, operating in the 6-12
GHz frequency range (which competes directly with Analog’s HMC732LC4B VCO), its
MAOC-410100, operating in the 7-14 GHz frequency range (which competes directly with an
Analog custom-built and confidential VCO product), and its MAOC-415000, operating in the
10-20 GHz frequency range (which competes directly with Analog’s HMC733LC4B VCO).

70. —‘ Tellingly, Analog’s custom-built product offering at 7-14 GHz was not publicly
released; Messrs. Traut and/or Winslow would only have known of Analog’s confidential
product offerings (and related customer requirements) from their access to confidential and
proprietary Analog trade secret information while employed by Analog.

71. | Moreover, the data sheets detailing the technical specifications and physical
responses of the MACOM VCO products bear a striking resemblance to their counterpart Analog

VCO products. By way of example, below is a table of certain features and specifications in the

i)
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Analog HMC732LC4B datasheet as compared to the data sheet for the MACOM MAOC-

 

 

 

 

 

 

 

409000:
Specification Analog HMC732LC4B MACOM MAOC-409000
Datasheet (Exhibit A, at 1) Datasheet (Exhibit B, at 2)
Frequency Range 6 — 12 GHz 6 ~ 12 GHz
Power Output 1 dBm 1 dBm
Tune Voltage (max.) 23 V 23 V
SSB Phase Noise (10 KHz -65 dBc/Hz -65 dBc/Hz
offset)
SSB Phase Noise (100 KHz -95 dBc/Hz -95 dBc/Hz
offset)
Supply Current 57 mA (at +5V) 58 mA (at +5V)

 

 

 

 

72. Additionally, a comparison between the physical response data of the Analog

HMC733LC4B and the MACOM MAOC-415000, reveals almost identical physical responses

between products.

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Analog HMC733LC4B Datasheet
(Exhibit C, at 2)

MACOM MAOC-415000 Datasheet
(Exhibit D, at 3)

 

Frequency vs. Tuning Voltage, Vec = +5V
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iT pa.
Vibe
15 fee
1d fee
TS f--
a Be
tt pee
1D fey
a

 

 

OUTPUT FREQUENCY (GHz)

 

 

 

 

 

 

 

vot 3B § F 8 TF 18 18 WF 1B Bt Be BS
TUNING VOLTAGE (¥)

Output Frequency vs. Tune Voltage

22
21

Frequency (GHz)

  

840-12 M446” 18-2022
Tuning Voltage (V}

 

Sensitivity vs. Tuning Voltage,
Vec= +5V, T = +25 °C

BON

 

 

 

 

 

     

 

 

TUNING SENSITIVITY (MHZVOLT)
1 » ¢ og

8

 

> 9 8 F 8 ft 33 18 IF 19 Bt 28 BS
TURING VOLTAGE (¥}

Control Sensitivity vs. Tuning Voltage

 

 

 

 

 

 

 

 

Control Sensitivity (MHz/¥)

 

 

   

 

 

 

 

 

 

EUS TIE BEBE Ba
Tuning Voltage (V)

 

 

Typical SSB Phase Noise vs. Temperature
Viune = +10V

10

 

 

,SSB PHASE NCISE (dBeHz)

 

 

 

 

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OFFSET FREQUENCY (Hz!

 

Phase Noise vs, Frequency Offset (Vrune= 10 V)

 

 

 

SSB Phase Noise (dBc/Hz)

 

 

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Frequency Offset (Hz)

 

 

73. Furthermore, on information and belief, MACOM used confidential and

proprietary Analog trade secrets obtained from Messrs. Traut and/or Winslow in its development

of these VCO products (e.g., confidential design decisions, processes, and know-how including

how to overcome obstacles during the design cycle which Analog’s engineers had invested

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significant time to surmount, and the unique and confidential die stacking assemblies necessary
for manufacture of the product).

74. On information and belief, MACOM’s use of Analog’s trade secrets as detailed
above resulted in Analog losing business with certain customers, and erosion of Analog’s profit
margins for certain products.

George Papamitrou Departs Analog for MACOM

75, George Papamitrou was employed by Hittite and/or Analog from June 2009
through to March 25, 2016, and he held various positions including Director of Information
Technology during his tenure with the companies.

76. Fora period of approximately six months prior to his departure from Analog, Mr.
Papamitrou took on the role of Director — Sales Enablement, reporting to Analog Global Sales
Senior Director George Smalanskas.

77. In that position, Mr. Papamitrou was tasked with helping Mr. Smalanskas to build
a customer enablement platform, Analog’s Asset Management Program, to facilitate sales to
customers, drawing from a wealth of confidential Analog information.

78. The platform is internally-facing, such that its design and operation are not public,
and involve Analog confidential and proprietary information. Analog invested significant time
and money developing the platform.

79. Jn 2016, Analog was given an award for Asset Management Program of the Year,
as best in class out of 1,500 companies based on its capabilities.

80. | On information and belief, Mr. Papamitrou is currently MACOM’s Director of IT
Business Services and Sales Enablement Technologies. On information and belief, Mr.

Papamitrou is the first employee of MACOM to occupy this role, and is involved in providing

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strategic direction and knowledge on technologies and processes in order to assist with sales
force effectiveness.

81. In his MACOM position, Mr. Papamitrou holds himself out as having various job
responsibilities which directly correlate to his work on Analog’s customer enablement platform.
For example, Mr. Papamitrou claims he has “[i]mplemented Salesforce and processes that helped
measure Pipeline effectiveness and Sales Force results,” occupied the role of “[h]ead of the
Business Services group responsible for the Global Business Applications and for providing the
overall strategy and operational leadership on Applications and Business Services,” and
“Twlorked with other Sales leaders to implement processes and tools.” On information and
belief, the development of these MACOM sales processes, applications and tools were informed
by Mr. Papamitrou’s sharing and use of Analog trade secrets.

82. On information and belief, Mr. Papamitrou is using Analog trade secret
information drawn from his experience with Analog’s proprietary Asset Management Program
and the trade secrets used therein in executing his responsibilities in his new position at
MACOM.

83. | Mr. Papamitrou had executed agreements with both Hittite and Analog
concerning confidentiality obligations he owed the companies, prior to his departure for
MACOM.

84. Specifically, on June 16, 2009, Mr. Papamitrou signed Hittite’s Proprietary

Information, Confidentiality and Inventions Agreement, which states in relevant part:

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1. Confidentiality. I agree to-keep confidential, except as the Company may
otherwise consent in writing, and, as may be necessary in the ordinary course of performing my
duties to the Company, not to disclose or make any use of at any time either during or
subsequent to my employment, any Inventions (as hereinafter defined), trade secrets, con‘idential
information, knowledge, data or other information of the Company relating to products,
processes, know-how, designs, formulas, test data, customer lists, business plans, marketing
plans and strategies, pricing strategies, or other subject matter pertaining to any business of the
Company or any of its affiliates or confidential or proptietary information of any third parties
subject to a duty on the part of the Company to mainiain the confidentiality of such information,
which I may produce, obtain, or otherwise acquire during the course of my employment, except
as herein provided. I durther agree not to deliver, reproduce or in any way allow any such trade
secrets, contidential information, knowledge, data or other information or any documentation
relating thereto, to be delivered to or used by any thitd parties without specific direction or
consent of a duly authorized representative of the Company.

 

 

85. And, on July 24, 2014, Mr. Papamitrou signed Analog’s Employee

Confidentiality and Developments Agreement, which states in relevant part:

 

1. Tayi not, during or after the term of my employment, disclose to. ary person, firm, conporation,
association or ofher entity for any reason or purpose whatsoever any Confidential Information or
any information of any third party which ADI is under an obligation to keep confidential, except
(i) a8 expressly directed by ADI, or (i).as may be required in the ordinary course of periorming my
duties as an employee of ADI In accordance with AD?s Policies, | will not make use of any
Confidential Information for my own purposes or for the benefit of any person, firm, corporetion or
other entity under any circumstances during or after the tern of my employment These
confidentially obligations will remain in effect during the tern: of my employment and for as long
as the information fits within the definition of Confidential information, except ag otherwise
provided by applicable jaw. All Confidential information is and will remain the sole end exclusive
properly of ADI or the third party supplier of such Confidential Information, and immediately upon
the termination of my employment, ! wil retum all Confidential Information and copies of
Confidential Information in my possession or control to ADI. {References to “ADI in this
Agreemeni are to Analog Devioss, Inc. and its subsidiaries, including Hittite frem and atter its
acquisition (the “Acquisition’), except as otherwise specified below.)

 

 

 

 

 

a, {Confidential information: Information as may be designated by ADI as confidential ot that a
reasonable person would understand from the circumstances of the disclosure to be
confidential, including but not limited to: (&) all information acquired by me fram ADI, its other
employees, its suppliers or customers, its agents or consulants, or thers, during my
employment by ADI, that relates.to the past, present or potential businesses, products or
services of ADI: (b} afl information created or acquired by me in the course of any Included
Activity; (c) all Company Creations: and (¢} all information derived from (a) - (c) above,
Notwithstanding the foregoing, Confidential infornation shail not include any infermation that
is or becomes generally known to the pubilc through no ection by me.

 

 

 

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86. Notwithstanding his contractual obligations, like Messrs. Traut and Winslow
before him, Mr. Papamitrou attempted to take confidential Analog information with him on his
way out the door.

87. Specifically, in the months prior to his departure from Analog, Mr. Papamitrou
downloaded approximately 80GB of confidential and proprietary Analog information to external
drives and cloud-based accounts, including technical information concerning products,
information concerning the sales enablement platform, and other documents concerning
confidential customer and sales information and other Analog trade secrets.

88. Analog became aware of this activity in April of 2016, and its Assistant General
Counsel contacted Mr. Papamitrou concerning his misconduct in an April 6, 2016 letter,
demanding immediate return of the misappropriated Analog confidential information, copying
John Croteau, MACOM’s CEO.

89. On April 13, 2016, Mr. Papamitrou executed a notarized document admitting that
he had copied content from his Analog computer, Analog’s networks, databases and customer
and sales enablement platforms, but representing that he had returned, deleted or otherwise
permanently destroying such information and all copies thereof, and further representing that he
would abide by his contractual confidentiality obligations in the future.

90. Despite Mr. Papamitrou’s contractual obligations and affirmation, on information
and belief, MACOM has used Analog confidential and proprietary trade secret information
obtained from Mr. Papamitrou, enabling sales by MACOM to Analog customers.

Analog’s Protection of its Trade Secrets

91. Analog takes seriously the confidential and proprietary nature of its trade secrets.

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92. Analog requires its employees to sign confidentiality agreements as part of their
employment, as was true with respect to the each of the three individuals discussed above.

93. Analog also trains its employees concerning confidential information and trade
secrets, and secures its facilities with security guards, cameras, access badges, and similar
procedures to protect its information.

94. Similarly, Analog secures its networks and information with passwords, firewalls,
limitations on access, encryption, and software and security personnel.

95. And, when Analog must share confidential information with third parties, it
protects such disclosures by entering into agreements with those parties to ensure confidentiality
is maintained in their possession as well.

Analog’s Patents

96. On October 12, 2010, the United States Patent and Trademark Office duly and
legally issued United States Patent No. 7,813,706, titled “Impedance Matched Lane Reversal
Switching System,” (the “’706 patent”). The ‘706 patent relates generally to a switching system
and to an impedance matched lane reversal switching system that reverses the ingress and egress
sides of a communications lane to provide connectivity to different types of devices. A copy of
the ‘706 patent is attached as Exhibit E.

97. Analog Devices, Inc. is the assignee and owner of all rights, title, and interest in
the ‘706 patent, now and for the entire period of and relevant to infringement, including the right
to assert all causes of action arising under the patent and the right to any remedies for
infringement of the patent.

98. On August 23, 2016, the United States Patent and Trademark Office duly and

legally issued United States Patent No. 9,425,752, titled “Distributed Amplifier With Improved

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Stabilization,” (the, “’752 patent”). The ‘752 patent relates generally to distributed amplifiers,
and more particularly to amplifiers that may include circuitry coupled to the gates of common-
gate configured transistors for improving amplifier stability. A copy of the ‘752 patent is
attached as Exhibit F.

99. Hittite Microwave LLC is the assignee and owner of all right, title, and interest in
the ‘752 patent, now and for the entire period of and relevant to infringement, including the right
to assert all causes of action arising under the patent and the right to any remedies for
infringement of the patent.

COUNT I
(infringement of U.S. Patent No. 7,813,706)

100. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

101. MACOM has infringed and continues to infringe, directly and/or indirectly, at
least claims 1, 5, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17 and 18, of the ‘706 patent, by making, using,
selling, offering for sale, and/or importing certain crosspoint switches, including at least the
M21123 and M21163 digital crosspoint switches (collectively, the ““706 Accused Products”).

102. For example, claim 1 of the ‘706 patent recites as follows:

An impedance matched lane reversal switching system comprising:

a first transceiver comprising a first transmitter and a first receiver, an output of
the first transmitter being connected to an input of the first receiver and to a first
transmission line, the first transceiver disposed at a near end of a lane comprising
the first transmission line and a second transmission line;

a first terminating resistance comprising a first node connected to the output of

the first transmitter, to the input of the first receiver, and the first transmission
line;

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a second transceiver comprising a second transmitter and a second receiver, an
output of the second transmitter being connected to an input of the second
receiver and to the second transmission line, the second transceiver disposed at
the near end of the lane;

a second terminating resistance comprising a second node connected to the output
of the second transmitter, to the input of the second receiver, and the second
transmission line;

and a switching circuit for selectively enabling one of a first configuration
comprising enabling the first transmitter, utilizing the second receiver, disabling
the second transmitter, and not utilizing the first receiver and a second
configuration comprising enabling the second transmitter, utilizing the first
receiver, disabling the first transmitter, and not utilizing the second receiver,
thereby selectively reversing an egress side and an ingress side of the near end of
the lane while maintaining impedance matching between the first transceiver and
the near end of the lane and between the second transceiver and the near end of
the lane.

103. MACOM’s product descriptions of the M21123 and M21163 are attached as
Exhibits G and H, respectively. On information and belief, and based in part on the similarity of
the product descriptions, the operation of the M21123 and M21163 are substantially the same.
They differ in that the M21123 has 18 reconfigurable input/output ports and 6 dedicated output
ports, while the M21163 has 24 reconfigurable input/output ports and 8 dedicated output ports;
in each case, the product may be used to create any square and non-square matrix size. Ex. G, at
1; Ex. H, at 1.

104. On information and belief, further specifics on the structure, function, and
operation of these products are described in U.S. Patent No. 9,356,591, titled, “Crosspoint
Switch with Separate Voltage Sources for Input and Output Ports,” assigned to MACOM
Technology Solutions Holdings, Inc., and attached as Exhibit I. The earliest patent application to

which the MACOM ‘591 patent seeks priority (a provisional application) was not filed until

April 4, 2011, well after the ‘706 patent issued on October 12, 2010.

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105. The ‘706 Accused Products include each and every element of claim 1 of the °706
patent.

106. For example, the ‘706 Accused Products are each an impedance matched lane
reversal switching system. The ‘706 Accused Products operate at very high speeds of 3.2
Gigabits per second, and therefore employ impedance matching terminations on their input and
output ports to allow for such high-speed serial transmissions. Ex. G, at 1; Ex. H, at 1. The
impedance matched lane reversal system is illustrated in the block diagram in Exhibits G and H,
showing a crosspoint core switch that is used as part of the system for lane reversal and

impedance matching.

 

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M21163 Block Diagram

(Ex. H, at 1.)
The impedance matched lane reversal system is also shown and described in the MACOM ‘591
patent at Figure 3, showing a switch core that is used as part of the system for lane reversal and

impedance matching:

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ae
Crosspoint Switch with Reconfigurable 1/0 and

324A Per Port Separated VDD
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buffer CORE 320A
Configurable 1/0;

 

 

 

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Configurable I/O} L 304 Configurable 1/0

 

 

 

 

 

107. The ‘706 Accused Products each include a first transceiver that includes a
transmitter and a receiver, where the output of the transmitter is connected to an input of the
receiver and also connected to a first transmission line. For example, the below excerpt for
Figure 3 of the MACOM ‘591 patent, shows a configurable I/O (transceiver) including an output
buffer (transmitter), an input buffer (receiver), where the output of the output buffer is connected

to the input of the input buffer, and where the output of the output buffer is also connected to a

CoH nad
328A

NC Port n+1
320A

transmission line at I/O Port n+1.

 

 

 

 

Configurable I/O

 

 

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108. The ‘706 Accused Products each include at least a second transmission line at I/O
Port m, shown in Figure 3 of the MACOM ‘591 patent, and the configurable I/O (transceiver)
described above is located at or near the end of a lane; the lane may include the transmission
lines at I/O Port a+1 and I/O Port min Figure 3 of Exhibit I.

109. Additionally, the “706 Accused Products each include a resistor, or another
structure that produces a terminating resistance, that includes a node that is connected to the
output of the output buffer (transmitter), the input of the input buffer (receiver) and to the first
transmission line at I/O Port ni. For example, the product descriptions for the MACOM
crosspoint switches each describe a “50Q input and output termination” and note that “the
input/output ports include on-chip 50Q termination and are electrically isolated from one
another, allowing each to be powered from and terminated to a different voltage rail.” Ex. G, at
1, 2; Ex. H, at 1, 2.

110. The ‘706 Accused Products each include a second transceiver that includes a
transmitter and a receiver, where the output of the transmitter is connected to an input of the
receiver and also connected to a first transmission line. For example, the below excerpt for
Figure 3 of the MACOM ‘591 patent, shows a second configurable I/O (second transceiver)
including an output buffer (transmitter), an input buffer (receiver), where the output of the output
buffer is connected to the input of the input buffer, and where the output of the output buffer is

also connected to a transmission line at I/O Port m:

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[AO Pm

328N

Ne Port m
320N

 

 

 

 

 

{Configurable yo

111. This configurable I/O (second transceiver) is located at or near the end of the lane
that may include the transmission lines at I/O Port n+1 and 1/O Port min Figure 3.

112. Additionally, the ‘706 Accused Products each include a second resistor, or a
second structure that produces a terminating resistance, that includes a node that is connected to
the output of the output buffer (second transmitter), the input of the input buffer (second
receiver) and to the second transmission line at I/O Port m. For example, the product description
for the MACOM crosspoint switches describe a “50Q input and output termination” and note
that “the input/output ports include on-chip 50Q termination and are electrically isolated from
one another, allowing each to be powered from and terminated to a different voltage rail.” Ex.
G, at 1, 2; Ex. H, at 1, 2.

113. The ‘706 Accused Products each include a switching circuit for selectively

enabling at least two different configurations:

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Ex. G, at 1 (‘Crosspoint Core”); Ex. H, at 1 (“Crosspoint Core”); see also, Ex. I, Figure 3
(“Switch Core 304”). One of the functions of the switching circuit is to reconfigure the
crosspoint switch, by reconfiguring the input and output ports. For example, as the product
description for the M21123 crosspoint switch notes, “[e]ach input/output port features
individually programmable trace equalization when configured as an input, and individually
programmable de-emphasis and output swing, when configured as an output.” Ex. G, at 1; see
also Ex. H, at 1.

114. As such, the ‘706 Accused Products include programmable reconfigurable input
and output ports in that certain output ports can be reconfigured as input ports, and certain input
ports can be reconfigured as output ports. Ex. G, at 2 (“18 reconfigurable IOs); Ex. H, at 2 (“24
reconfigurable IOs”). To perform this function of reconfiguring an input port as an output port
or vice versa, the switching circuit in the ‘706 Accused Products performs either of two
configurations: (1) enables the first output buffer (transmitter), utilizing the second input buffer
(receiver), disabling the second output buffer (transmitter) and not utilizing the first input buffer
(receiver); or (2) enables the second output buffer (transmitter), utilizing the first input buffer

(receiver), disabling the first output buffer (transmitter) and not utilizing the second input buffer

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(receiver). Ex. G, at 1 (“Each input/output port features individually programmable trace
equalization when configured as an input, and individually programmable de-emphasis and
output swing, when configured as an output.”); see also Ex. H, at 1.

115. Additionally, in the ‘706 Accused Products, by switching between the first and
second configurations each of the products reverses the outbound (egress) side of the lane and
the inbound (ingress) side of the lane, while still maintaining the impedance match between the
first configurable I/O and the second configurable I/O, as shown in Figure 3 of the MACOM
“591 patent. Ex. I, at Fig. 3. Such impedance matching is necessary to operate at the high speeds
of the ‘706 Accused Products, such as 3.2 Gigabits per second.

116. MACOM has actively and knowingly induced, and is actively and knowingly
inducing, infringement of the ‘706 patent, at least by MACOM’s customers’ use of the ’706
Accused Products. For example, MACOM instructs its customers by way of manuals or product
documentation to infringe the asserted claims by using the ‘706 Accused Products. MACOM
knew and knows that such use of the °706 Accused Products would infringe the ‘706 patent
claims, at least as early as the filing date of this complaint.

117. MACOM’s infringement of the “706 patent has been willful, and MACOM’s
continued infringement of the ‘706 patent continues to be willful. For example, on information
and belief, MACOM knew of the ’706 patent, and of Analog’s products that practice the “706
patent, at least as early as the filing date of this complaint. MACOM nevertheless chose to
manufacture and sell the ‘706 Accused Products, knowing that such products would infringe the
“706 patent.

118. Analog has been, and is being, irreparably harmed, and has incurred, and will

continue to incur, damages as a result of MACOM’s infringement of the “706 patent.

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COUNT II

(Infringement of U.S. Patent No. 9,425,752)

119. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.
120. .MACOM has infringed and continues to infringe, directly and/or indirectly, at

least claims 15, 16, 17, 18, 20, and 23 of the ‘752 patent, by making, selling, using, offering for

sale, and/or importing certain distributed power amplifiers, including at least the MAAP-011247

and MAAP-011248, and their various bare die and packaged variations (collectively, the “752

Accused Products”).

121.

122.

For example, claim 15 of the ‘752 patent recites as follows:
A distributed amplifier comprising:

an input transmission line; an output transmission line; and a plurality of cascode
amplifiers each coupled between the input transmission line and the output
transmission line, wherein a first cascode amplifier of the plurality of cascode
amplifiers comprises:

three or more field effect transistors (FETs) arranged in a stack, wherein the three
or more FETs comprises a first FET, a second FET, and a third FET, wherein the
first FET includes a gate coupled to the input transmission line, wherein the
second FET is positioned between the first FET and the third FET in the stack,
and wherein the third FET includes a drain coupled to the output transmission
line; and

a first stabilization circuit coupled to a gate of the third FET, wherein the first
stabilization circuit comprises a first resistor and a first capacitor electrically
connected in series, wherein the first FET is configured to generate an amplified
signal by amplifying an input signal received at the gate of the first FET from the
input transmission line, wherein the first FET is further configured to provide the
amplified signal to the output transmission line through the second FET, from a
source of the second FET to a drain of the second FET, and through the third
FET, from a source of the third FET to the drain of the third FET.

MACOM’s datasheets for the MAAP-011247 and MAAP-011248 are attached as

Exhibits J and K respectively. On information and belief, and based in part on experience of

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Analog personnel with MAAP-011247 and MAAP-011248 in the marketplace, the topology of
and chip used in the MAAP-011248 are the same as those used in MAAP-011247, and thus the
products are not colorably different for purposes of infringement.

123. The ‘752 Accused Products include each and every element of claim 15 of the
*752 patent.

124, For example, the ‘752 Accused Products are each distributed power amplifiers.
Ex. J, at 1; Ex. K, at 1.

125. The ‘752 Accused Products each include an input transmission line and an output
transmission line. See e.g., Ex. J, at 3 (“RF imput and output are 50 © transmission lines.”). For

example, the block diagrams in the data sheet show the input and output transmission lines as

 

 

 

 

 

 

 

 

 

 

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Ex. J, at 1.

126. The ‘752 Accused Products each include several cascode amplifiers that are each
coupled between the input and output transmission lines.
127. The ‘752 Accused Products each include at least one cascode amplifier that

includes three field effect transistors (FETs) that are arranged in a stack. The first of these three

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FETs, includes a gate that is coupled to the input transmission line. The second FET, because it
is arranged in a stack of the three FETs, is positioned in the stack of three between the first FET
and the third FET. The third FET, includes a drain that is coupled to the output transmission
line.

128. The ‘752 Accused Products each include a first stabilization circuit that is coupled
to the gate of the third FET. The stabilization circuit is made up of a first resistor (either of two
thin and long rectangular structures) and a first capacitor (either of two bulbous structures that
are positioned near the gate of the third FET) that are electrically connected in series.

129. The configuration of the first FET, by way of its arrangement in the stack of three
FETS, amplifies the input signal from the input transmission line that is received at the gate of
the first FET. The first FET is also configured to provide the amplified signal to the output
transmission line through the second FET from a source of the second FET to a drain of the
second FET, and through the third FET from a source of the third FET to the drain of the third
FET.

130. MACOM has actively and knowingly induced, and is actively and knowingly
inducing, infringement of the ‘752 patent, at least by MACOM’s customers’ use of the ‘752
Accused Products. For example, MACOM instructs its customers by way of manuals or product
documentation to practice and infringe the asserted claims by using the ‘752 Accused Products.
On information and belief, at least by way of Mr. Traut’s and MACOM’s knowledge of the °752
patent and/or related patents from Mr. Traut’s service on a Hittite patent committee, MACOM
knew and knows that such use of the °752 Accused Products would infringe the ‘752 patent

claims.

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131. MACOM’s infringement of the ‘752 patent has been willful, and MACOM’s
continued infringement of the ‘752 patent continues to be willful. For example, on information
and belief, MACOM knew of the ’752 patent, and of Analog’s products that practice the ‘752
patent. MACOM nevertheless chose to manufacture and sell the ‘752 Accused Products,
knowing that such products would infringe the ‘752 patent.

132. Analog has been, and is being, irreparably harmed, and has incurred, and will
continue to incur, damages as a result of MACOM’s infringement of the ‘752 patent.

COUNT III
(Misappropriation of Trade Secrets under the Defend Trade Secrets Act, 18 U.S.C. § 1836
et seq.)

133. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

134. The trade secret information, which is owned by Analog, comprises (i)
confidential and proprietary product design information related to at least Analog’s MMIC
amplifier and VCO products, including information concerning product topology, design
processes, decisions and know-how including how to overcome obstacles during the design
cycle, and unique and confidential die stacking assembly information concerning product
manufacture; and (ii) confidential customer and sales-related information, including customer
identities, needs, requirements, opportunities, and challenges, product pricing, volume
expectations, customer purchase forecasts, and design aspects of Analog’s proprietary Asset
Management Program.

135. The trade secret information misappropriated by MACOM satisfies the definition

of “trade secret” under 18 U.S.C. § 1839(3).

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136. Each of the trade secrets at issue is used in the development of or in connection
with Analog’s products, including the MMIC amplifiers and VCOs, all of which are sold in
interstate commerce.

137. Analog has taken reasonable steps to ensure the confidentiality of its trade secrets
such as disclosing such information only to necessary persons, requiring its employees to sign
confidentiality agreements as part of their employment, requiring third parties to sign non-
disclosure agreements in the course of business, securing its physical facilities, and protecting its
networks and digital information with security protocols, passwords, firewalls, encryption, and
software.

138. Upon information and belief, MACOM has knowingly obtained trade secrets
taken from Analog by departing employees Mr. Traut, Mr. Winslow, and Mr. Papamitrou, who
had access to the trade secrets by way of their employment at Analog.

139. To this day, MACOM continues to use Analog’s trade secrets in bringing to
market products that directly compete with Analog’s products, and targeting specific Analog
customers for sales based on such trade secret information.

140. Asa direct and proximate result of MACOM’s misappropriation, Analog has
suffered substantial damages, which include but are not limited to loss of sales and price erosion.

141. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOWM’s misappropriation, if MACOM is left unrestrained.

COUNT IV
(Misappropriation of Trade Secrets under M.G.L. c. 93 § 42)
142. Analog incorporates the allegations contained in the preceding paragraphs as if

fully set forth herein.

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143. The trade secret information, which is owned by Analog, comprises (i)
confidential and proprietary product design information related to at least Analog’s MMIC
amplifier and VCO products, including information concerning product topology, design
processes, decisions and know-how including how to overcome obstacles during the design
cycle, and unique and confidential die stacking assembly information concerning product
manufacture; and (ii) confidential customer and sales-related information, including customer
identities, needs, requirements, opportunities, and challenges, product pricing, volume
expectations, customer purchase forecasts, and design aspects of Analog’s proprietary Asset
Management Program.

144. The trade secret information misappropriated by MACOM satisfies the definition
of “trade secret” under M.G.L. c. 93 § 42 and M.G.L. c. 266 § 30.

145. Analog has taken reasonable steps to ensure the confidentiality of its trade secrets
such as disclosing such information only to necessary persons, requiring its employees to sign
confidentiality agreements as part of their employment, requiring third parties to sign non-
disclosure agreements in the course of business, securing its physical facilities, and protecting its
networks and digital information with security protocols, passwords, firewalls, encryption, and
software.

146. Upon information and belief, MACOM has knowingly obtained trade secrets
taken from Analog by departing employees Mr. Traut, Mr. Winslow, and Mr. Papamitrou, who
had access to the trade secrets by way of their employment at Analog and had breached their

confidentiality agreements with Analog by taking Analog’s trade secrets.

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147. To this day, MACOM continues to use the Analog trade secrets in bringing to
market products that directly compete with Analog’s products, and targeting specific Analog
customers for sales based on such trade secret information.

148. Asa direct and proximate result of MACOM’s misappropriation, Analog has
suffered substantial damages, which include but are not limited to loss of sales and price erosion.

149. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOM’s misappropriation, if MACOM is left unrestrained.

COUNT V
(Violation of Massachusetts Consumer Protection Act, M.G.L. c. 93A)

150. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

151. Atall times relevant hereto, MACOM was engaged in trade or commerce within
the meaning of M.G.L. c. 93A, §§ 2, 11.

152. _MACOM’s conduct and misappropriation of Analog’s trade secrets and
confidential and proprietary information constitute unfair and deceptive acts and practices, and
constitute a violation of M.G.L. ¢. 93A.

153. ._MACOM’s unfair and deceptive acts and practices were committed knowingly
and willfully.

154. MACOM’s unfair and deceptive acts and practices occurred primarily and
substantially within the Commonwealth of Massachusetts.

155. Asa direct and proximate result of MACOM’s unfair and deceptive acts and
practices, Analog has suffered, and continues to suffer economic injury, which includes but is

not limited to loss of sales and price erosion.

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156. Analog has suffered and will continue to suffer irreparable harm as a result of

MACOWM’s unfair and deceptive acts and practices, if MACOM is left unrestrained.
COUNT VI
(Unjust Enrichment)

157. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

158. As aresult of MACOM’s conduct and misappropriation of Analog’s trade secrets
and confidential and proprietary information, Analog has suffered economic detriment and
MACOM has received and appreciated benefits, such as accelerated product development, new
sales, and customer contracts, to which it would not otherwise be entitled.

159. MACOM possessed full knowledge that it would reap such benefits by
misappropriating and subsequently using Analog’s trade secrets and confidential and proprietary
information to release MACOM products that directly competed with Analog’s existing products
in the market.

160. Under the circumstances and because Analog and MACOM are direct
competitors, MACOM’s acceptance and retention of such benefits without payment of value to
Analog is inequitable.

161. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOM’s conduct and misappropriation of Analog’s trade secrets and confidential and

proprietary information, if MACOM is left unrestrained.

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COUNT VII
(Tortious Interference with Contractual Relations)

162. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

163. As standard practice, Analog required its employees to sign confidentiality
agreements as part of their employment, and the departing employees Mr. Traut, Mr. Winslow,
and Mr. Papamitrou were bound by the confidentiality provisions of the agreements even after
their departure from Analog.

164. By having Mr. Traut, Mr. Winslow, and Mr. Papamitrou disclose Analog’s trade
secrets and other confidential and proprietary information during the course of their employment
at MACOM, MACOM unlawfully induced these individuals to breach their confidentiality
agreements with Analog.

165. _MACOM’s interference with the confidentiality agreements between the
respective employees and Analog was improper in motive and means, as MACOM leveraged
Analog’s trade secrets to develop MACOM products that directly competed with Analog’s
products.

166. _MACOM’s conduct was and is willful, intentional, and calculated to cause
damage to Analog.

167. Asa direct and proximate result of MACOM’s actions, Analog has suffered, and
continues to suffer injury, which includes but is not limited to loss of sales and price erosion.

168. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOWM’s tortious interference with the confidentiality agreements between Analog and the

departing employees, if MACOM is left unrestrained.

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COUNT VIII
(Tortious Interference with Existing and Prospective Business Relations)

169. Analog incorporates the allegations contained in the preceding paragraphs as if
fully set forth herein.

170. MACOM has engaged and continues to engage in the enticement of, solicitation
of, and acceptance of business from Analog customers with whom Mr. Traut had contact and
business dealings prior to leaving Analog.

171. MACOM knew of the relationship between Analog and its customers by way of
at least Mr. Traut and the information he disclosed to MACOM.

172. After misappropriating Analog’s trade secrets and other confidential and propriety
information and using such information to develop its own competing products, MACOM has
sold to these customers that had previously sourced such products from Analog.

173. MACOM?’s interference with the relationship between Analog and its customers
was improper in motive and means, as MACOM leveraged Analog’s trade secrets to develop
MACOM products that directly competed with Analog’s products and thereby targeted these
customers with the purpose of taking business from Analog.

174. MACOM?’s conduct was and is willful, intentional, and calculated to cause
damage to Analog.

175. Asa direct and proximate result of MACOM’s actions, Analog has suffered, and
continues to suffer loss of advantage in the market, which is demonstrated through Analog’s loss

of sales and price erosion.

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176. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOWM’s tortious interference with Analog’s existing and prospective business relations, if
MACOM is left unrestrained.

COUNT IX
(Aiding and Abetting the Employees’ Breach of Fiduciary Duty)

177. The departing employees Mr. Traut, Mr. Winslow, and Mr. Papamitrou were
aware of the fiduciary duty they owed to Analog by way of their status as at-will employees at
Analog.

178. MACOM was aware that obtaining Analog’s trade secrets and confidential and
proprietary information from Mr. Traut, Mr. Winslow, and Mr. Papamitrou was a breach of the
fiduciary duty they owed to Analog.

179. MACOM had substantially assisted and/or encouraged the employees to breach
their fiduciary duty by encouraging them to leave Analog’s employ and otherwise to participate
in the schemes described above.

180. _MACOM’s awareness that Analog is a direct competitor demonstrates that
MACOM could not reasonably be held to have acted in good faith in obtaining Analog’s trade
secrets from Mr. Traut, Mr. Winslow, and Mr. Papamitrou.

181. Asa direct and proximate result of MACOM’s actions, Analog has suffered, and
continues to suffer damages, as well as irreparable harm and loss.

182. Analog has suffered and will continue to suffer irreparable harm as a result of
MACOM substantially assisting and/or encouraging past Analog employees to breach their

fiduciary duty to Analog, if MACOM is left unrestrained.

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REQUEST FOR RELIEF
WHEREFORE, Plaintiff Analog respectfully requests that this Court enter judgment as follows:

1, Declaring that MACOM has infringed the ‘706 and ‘752 patents;

2. Granting a preliminary and permanent injunction, enjoining MACOM, its
officers, agents, servants, employees, attorneys, and all persons acting in concert or participation
with them, from further infringement of the ‘706 and ‘752 patents;

3. Awarding Analog damages adequate to compensate for MACOM’s infringing
activities, including supplemental damages for any post-verdict infringement up until entry of the
final judgment with an accounting as needed, together with pre-judgment and post-judgment
interest on the damages awarded; all of these damages to be enhanced in an amount up to treble
the amount of compensatory damages as justified under 35 U.S.C. § 284;

4. For an injunction to issue, preliminarily until final hearing and permanently
thereafter:

a. enjoining and restraining MACOM from misappropriating Analog’s trade
secrets and related confidential and proprietary information, including by acquiring, using, or
disclosing the misappropriated trade secrets and related confidential and proprietary information;

b. restraining MACOM and its agents from destroying any and all files or
documents wrongfully obtained from Analog that are currently in its possession;

C. ordering MACOM and its agents to return to Analog any and all
documents, drawings, client or employee information and tangible or intangible records of
Analog in MACOM’s possession, including all copies and adaptations of such documents, data,

information, and records;

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d. ordering MACOM and its agents to return to Analog any and all
confidential information pertaining to the clients or business operations of Analog, whether in
original, copied, computerized, handwritten, or any other form, and to purge any such
information from his possession, custody, or control, within 24 hours of notice to MACOM or
their counsel of the terms of an order by the Court;

e. directing MACOM to file with the Court and serve on Analog within
thirty (30) days after the service on MACOM of such injunction a report in writing, under oath,
setting forth the manner and form in which MACOM has complied with the injunction and
returned Analog’s property;

f. enjoining and restraining MACOM from unfairly competing with Analog;

g. enjoining and restrainng MACOM from tortiously interfering with the
contractual relations of Analog;

h enjoining and restraining MACOM from tortiously interfering with the

existing and prospective business relations of Analog;

5. For general and compensatory damages in an amount to be determined at trial;
6. For punitive and/or exemplary damages on all common law claims and as
permitted by statute;

7. For disgorgement of all ill-gotten gains MACOM has unjustly attained by its
illegal acts, and/or an order compelling MACOM to pay reasonable royalties to the extent that
MACOM is not enjoined from the above violations and for the use of Analog’s trade secrets;

8. For pre-judgment and post-judgment interest in an amount to be determined at
trial;

9. For an order awarding Analog its attorneys’ fees and costs;

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10.‘ Finding this to be an exceptional case and award Analog its attorneys’ fees and
costs; and
11. For an order awarding Analog such other and further relief as the Court deems

Just and proper.

JURY DEMAND

Analog hereby demands a trial by jury on all issues so triable.

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Dated: May 21, 2018

Respectfully submitted,

ANALOG DEVICES, INC. and
HITTITE MICROWAVE LLC

By their attorneys,

/s/ Steven M. Bauer

 

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